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                                                                                    APPEAL
                                   U.S. District Court
                             District of Colorado (Denver)
                  CRIMINAL DOCKET FOR CASE #: 1:13−cr−00392−CMA−3

    Case title: USA v. Brokaw et al                        Date Filed: 09/23/2013

    Assigned to: Judge Christine M.
    Arguello

    Defendant (3)
    Mimi M. Vigil                     represented by Mimi M. Vigil
                                                     513 Shady Crest Circle
                                                     Colorado Springs, CO 80916
                                                     719−440−7530
                                                     PRO SE

                                                    John S. Tatum
                                                    John S. Tatum, P.C.
                                                    12351 East Cornell Avenue
                                                    Aurora, CO 80014
                                                    303−750−6888
                                                    Fax: 303−750−8279
                                                    Email: john@johntatumlaw.com
                                                    TERMINATED: 08/19/2014
                                                    LEAD ATTORNEY
                                                    Designation: CJA Appointment

    Pending Counts                                  Disposition
    CONSPIRE TO DEFRAUD
    GOVERNMENT RESPECT TO
    CLAIM
    (1)
    CONSPIRE TO DEFRAUD
    GOVERNMENT RESPECT TO
    CLAIM
    (1s)
    FALSE OR FRAUDULENT
    CLAIMS
    (12)
    FALSE OR FRAUDULENT
    CLAIMS
    (12s)
    CONSPIRACY TO DEFRAUD
    THE UNITED STATES
    (14)
    CONSPIRACY TO DEFRAUD
    THE UNITED STATES
    (14s)
    CORRUPT OR FORCIBLE
    INTERFERENCE
    (17)
    CORRUPT OR FORCIBLE
    INTERFERENCE
    (17s)
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    Highest Offense Level (Opening)
    Felony

    Terminated Counts                                       Disposition
    None

    Highest Offense Level
    (Terminated)
    None

    Complaints                                              Disposition
    None


    Plaintiff
    USA                                              represented by Matthew T. Kirsch
                                                                    U.S. Attorney's Office−Denver
                                                                    1225 17th Street East
                                                                    Suite 700
                                                                    Denver, CO 80202
                                                                    303−454−0100
                                                                    Fax: 303−454−0402
                                                                    Email: matthew.kirsch@usdoj.gov
                                                                    LEAD ATTORNEY
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: Federal Agency Attorney

                                                                    Martha Ann Paluch
                                                                    U.S. Attorney's Office−Denver
                                                                    1225 17th Street East
                                                                    Suite 700
                                                                    Denver, CO 80202
                                                                    303−454−0100
                                                                    Fax: 303−454−0402
                                                                    Email: Martha.Paluch@usdoj.gov
                                                                    ATTORNEY TO BE NOTICED
                                                                    Designation: Federal Agency Attorney

     Date Filed      #      Docket Text
     09/23/2013          1 INDICTMENT (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit)
                           (dkals, ) (Entered: 09/24/2013)
     09/23/2013          2 RESTRICTED DOCUMENT − Level 4 (dkals, ) (Entered: 09/24/2013)
     09/23/2013          3 Arrest Warrant Issued in case as to George Thomas Brokaw, John J. Pawelski,
                           Mimi M. Vigil, Clara M. Mueller. (Attachments: # 1 Exhibit, # 2 Exhibit, # 3
                           Exhibit)(dkals, ) (Entered: 09/24/2013)
     09/23/2013          4 MOTION to Restrict Case by USA as to George Thomas Brokaw, John J.
                           Pawelski, Mimi M. Vigil, Clara M. Mueller. (dkals, ) (Entered: 09/24/2013)
     09/23/2013          5 ORDER to Restrict Case as to George Thomas Brokaw (1), John J. Pawelski (2),
                           Mimi M. Vigil (3), Clara M. Mueller (4) by Magistrate Judge Michael E. Hegarty
                           on 9/23/13. (dkals, ) (Entered: 09/24/2013)
     10/02/2013          6 Arrest of George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, Clara M.
                           Mueller. Initial Appearance set for 10/2/2013 02:00 PM in Courtroom A 501
                           before Magistrate Judge Gordon P. Gallagher. (Text Only Entry)(nmmsl, )
                           (Entered: 10/02/2013)
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    10/02/2013     7 MINUTE ENTRY for proceedings held before Magistrate Judge Michael E.
                     Hegarty: Initial Appearance as to George Thomas Brokaw, John J. Pawelski, Mimi
                     M. Vigil, and Clara M. Mueller held on 10/2/2013. Defendants are present in
                     custody. Defendants advised. Criminal Justice Act counsel appointed for all
                     defendants. Arraignment, Discovery, and Detention Hearing set for 10/7/2013
                     10:00 AM in Courtroom A 502 before Magistrate Judge Michael J. Watanabe.
                     Statements made by Mr. Pawelski regarding being held in custody for three days.
                     Discussion held regarding bond for Ms. Vigil and Ms. Mueller. ORDERED:
                     $25,000 Unsecured Bond set as to Mimi M. Vigil (3) and Clara M. Mueller (4).
                     The detention hearing for Ms. Vigil and Ms. Mueller is vacated. Defendants Vigil
                     and Mueller advised of conditions of bond and remanded for processing and
                     release. Defendants Brokaw and Pawelski are remanded. (Total time: 17 minutes,
                     Hearing time: 2:26−2:43)

                      APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                      Government, Paige Meador on behalf of Pretrial Services. FTR: CRIMINAL PM
                      −− Courtroom A−501. (mehcd) Text Only Entry (Entered: 10/03/2013)
    10/02/2013    11 CJA 23 Financial Affidavit by Mimi M. Vigil. (mehcd) (Entered: 10/03/2013)
    10/02/2013    14 $25,000 Unsecured Bond entered as to Mimi M. Vigil. (mehcd) (Entered:
                     10/03/2013)
    10/02/2013    15 ORDER Setting Conditions of Release as to Mimi M. Vigil (3), by Magistrate
                     Judge Michael E. Hegarty on 10/2/2013. (mehcd) (Entered: 10/03/2013)
    10/04/2013    19 CJA 20/30 Appointment of John S. Tatum for Mimi M. Vigil by Magistrate Judge
                     Michael E. Hegarty on 10/4/2013. (smatl, ) (Entered: 10/04/2013)
    10/07/2013    23 Receipt for Surrender of Passport as to Mimi M. Vigil Passport Number
                     220470880 issued by USA (sphil, ) (Entered: 10/07/2013)
    10/07/2013    24 MINUTE ORDER as to George Thomas Brokaw (1), John J. Pawelski (2), Mimi
                     M. Vigil (3), Clara M. Mueller (4). Pretrial motions due by 10/21/2013. Responses
                     due by 10/31/2013. If counsel believe an evidentiary hearing on motions is
                     necessary, they shall confer and contact Chambers via conference call
                     (303−335−2174) no later than 11/05/2013 to set such a hearing. Final Trial
                     Preparation Conference set for 11/25/2013 at 9:00 AM, in Courtroom A602 before
                     Judge Christine M. Arguello. Ten−day Jury Trial set for 12/02/2013 at 8:00 AM, in
                     Courtroom A602, before Judge Christine M. Arguello. FURTHER ORDERED, the
                     Court will not consider any motion related to the disclosure or production of
                     discovery that is addressed by the Discovery Order and/or Fed.R.Crim.P.16, unless
                     Counsel for the moving party, prior to filing the motion, has conferred or made
                     reasonable, good−faith efforts to confer with opposing counsel in an effort to
                     attempt to resolve the disputed matter, e.g., questions or disputes relating to the
                     scope and/or timing of disclosure of such discovery. If the parties are able to
                     resolve the dispute, the Motion shall be entitled "Unopposed Motion for _______,"
                     and the parties shall submit the proposed order the parties wish the Court to enter.
                     If the parties are unable to resolve the dispute, the moving party shall state in the
                     Motion the specific efforts that were taken to comply with this Order to Confer.
                     FURTHER ORDERED, parties are expected to comply with this Court's "Criminal
                     Practice Standards" (AS AMENDED ON MAY 15, 2013), specifically, Sections
                     III.D and V.A−G (see www.cod.uscourts.gov, under tab "Court Operations/Rules
                     &Procedures/Judicial Practice Standards"). SO ORDERED BY Judge Christine M.
                     Arguello on 10/07/13. Text Only Entry (cmasec) (Entered: 10/07/2013)
    10/07/2013    27 Arrest Warrant Returned Executed on 10/2/13 in case as to Mimi M. Vigil. (dkals,
                     ) (Entered: 10/07/2013)
    10/07/2013    32 MINUTE ENTRY/ORDER for proceedings held before Magistrate Judge Michael
                     J. Watanabe: Arraignment / Discovery Hearing as to Mimi M. Vigil held on
                     10/7/2013. Defendant present on bond with counsel. NOT GUILTY plea entered as
                     to all counts. Discovery memorandum executed. Defendants bond continued.
                     Counsel is directed to chambers. (Total time: 4 minutes, Hearing time: 10:38 −
                     10:42)APPEARANCES: Matthew T. Kirsch on behalf of the Government, John S.
                     Tatum on behalf of the defendant, Christine Zorn on behalf of pretrial. Court
                     Reporter: FTR − E. E. Miller. FTR: Courtroom A502. (mjwcd) Text Only Entry
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                      (Entered: 10/07/2013)
    10/07/2013    39 Discovery Conference Memorandum and ORDER: Estimated Trial Time − 10 days
                     as to Mimi M. Vigil by Magistrate Judge Michael J. Watanabe on 10/7/13. (ccovi)
                     (Entered: 10/08/2013)
    10/08/2013    34 NOTICE OF ATTORNEY APPEARANCE: John S. Tatum as Court−Appointed
                     Counsel appearing for Mimi M. Vigil (Tatum, John) (Entered: 10/08/2013)
    10/08/2013    45 NOTICE OF ATTORNEY APPEARANCE Martha Ann Paluch appearing for
                     USA. (Paluch, Martha) (Entered: 10/08/2013)
    10/10/2013    46 MOTION to Disclose Grand Jury Material to Defendant by USA as to George
                     Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, Clara M. Mueller.
                     (Attachments: # 1 Proposed Order (PDF Only))(Kirsch, Matthew) (Entered:
                     10/10/2013)
    10/10/2013    47 ORDER GRANTING 46 Motion to Disclose Grand Jury Material as to George
                     Thomas Brokaw (1), John J. Pawelski (2), Mimi M. Vigil (3), Clara M. Mueller
                     (4): Grand jury testimony and documents may be disclosed to Defendants and their
                     attorneys in the course of discovery in this case. FURTHER ORDERED that (1)
                     Defense counsel shall make only such copies as are necessary to prepare a defense
                     of this criminal case; (2) Defense counsel shall keep a written record concerning
                     how many copies were made, to whom those copies were delivered, and the date of
                     delivery, and that defense counsel shall deliver a copy of this Order allowing
                     disclosure with the materials; (3) Defense counsel shall provide Defendants with
                     reasonable access to the grand jury materials, but no Defendant shall be allowed to
                     retain copies of any grand jury materials; (4) No person, other than defense
                     counsel, shall be allowed to make any copies of the grand jury materials for any
                     purpose; and (5) Within 10 days of the conclusion of the case in this Court, by
                     entry of the Court's judgment, defense counsel shall collect all such copies and
                     return them to the government. SO ORDERED BY Judge Christine M. Arguello on
                     10/10/13. Text Only Entry (cmasec) (Entered: 10/10/2013)
    10/21/2013    51 Unopposed MOTION to Exclude 180 Days from the Otherwise Applicable Speedy
                     Trial Calculation in this Action, to Continue Currently Scheduled Trial Date, and
                     to Extend Motions Filing Deadlines by Mimi M. Vigil. (Tatum, John) (Entered:
                     10/21/2013)
    10/21/2013    53 SUPERSEDING INDICTMENT as to George Thomas Brokaw (1) counts 1s,
                     2s−7s, 14s, 15s, John J. Pawelski (2) counts 1s, 8s−11s, 14s, 16s, Mimi M. Vigil
                     (3) counts 1s, 12s, 14s, 17s, Clara M. Mueller (4) counts 1s, 13s, 14s, 18s.
                     (Attachments: # 1 Criminal Information Sheet, # 2 Criminal Information Sheet, # 3
                     Criminal Information Sheet, # 4 Criminal Information Sheet) (dkals, ) (Entered:
                     10/22/2013)
    10/21/2013    54 RESTRICTED DOCUMENT − Level 4 as to George Thomas Brokaw, John J.
                     Pawelski, Mimi M. Vigil, Clara M. Mueller. (dkals, ) (Entered: 10/22/2013)
    10/21/2013    55 MINUTE ORDER as to George Thomas Brokaw, John J. Pawelski, Mimi M.
                     Vigil, Clara M. Mueller: Re−Arraignment set for 10/30/2013 01:30 PM in
                     Courtroom C204 before Magistrate Judge Kristen L. Mix. Text Only Entry (dkals,
                     ) (Entered: 10/22/2013)
    10/22/2013    56 ORDER granting 51 Unopposed Motion to exclude 180 days from speedy trial, to
                     continue trial dates and extend motions deadlines, as to George Thomas Brokaw,
                     John J. Pawelski, Mimi M. Vigil, Clara M. Mueller, by Judge Christine M.
                     Arguello on 10/22/13. The Final Trial Preparation Conference and Jury Trial are
                     vacated. (dkals, ) (Entered: 10/22/2013)
    10/25/2013    58 CJA Request for Interim Payment as to George Thomas Brokaw, John J. Pawelski,
                     Mimi M. Vigil, Clara M. Mueller. (Stuckey, Richard) (Entered: 10/25/2013)
    10/25/2013    59 MINUTE ORDER as to George Thomas Brokaw (1), John J. Pawelski (2), Mimi
                     M. Vigil (3), Clara M. Mueller (4): Pursuant to a telephone conference between
                     counsel and Chambers staff, the following trial dates and deadlines have been
                     RESET in this matter: Pretrial motions due by 04/01/2014. Responses due by
                     04/14/2014. Final Trial Preparation Conference set for 05/09/2014 at 9:00 AM, in
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                      Courtroom A602, before Judge Christine M. Arguello. Three−week Jury Trial set
                      for 06/02/2014 at 8:30 AM, in Courtroom A602, before Judge Christine M.
                      Arguello. FURTHER, a Motions Hearing is set for 04/24/2014 at 1:00 PM, in
                      Courtroom A602, before Judge Christine M. Arguello. SO ORDERED BY Judge
                      Christine M. Arguello on 10/25/13. Text Only Entry (cmasec) (Entered:
                      10/25/2013)
    10/30/2013    62 MINUTE ENTRY for Re−Arraignment on First Superseding Indictment as to
                     George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil and Clara M. Mueller
                     held before Magistrate Judge Kristen L. Mix on 10/30/2013. All defendants present
                     on bond. Court advises defendants. All defendants waive reading and advisement.
                     Court enters Plea of Not Guilty on all counts as to George Thomas Brokaw, John J.
                     Pawelski, Mimi M. Vigil and Clara M. Mueller. (Total time: 9 minutes, Hearing
                     time: 1:52−2:01)

                      APPEARANCES: Martha Paluch on behalf of the Government, Eric Klein on
                      behalf of defendant George Brokaw, Richard Stuckey on behalf of defendant John
                      J. Pawelski, John Tatum on behalf of defendant Mimi Vigil, Miller Leonard on
                      behalf of defendant Clara Mueller. FTR: KLM Courtroom C−204. (lag) Text Only
                      Entry (Entered: 10/30/2013)
    11/01/2013    65 TRANSCRIPT of Arraignment/Discovery/Detention Hearing as to George Thomas
                     Brokaw, John J. Pawelski, Mimi M. Vigil, Clara M. Mueller held on October 7,
                     2013 before Magistrate Judge Watanabe. Pages: 1−30.

                      NOTICE − REDACTION OF TRANSCRIPTS: Within seven calendar days of
                      this filing, each party shall inform the Court, by filing a Notice of Intent to
                      Redact, of the party's intent to redact personal identifiers from the electronic
                      transcript of the court proceeding. If a Notice of Intent to Redact is not filed
                      within the allotted time, this transcript will be made electronically available
                      after 90 days. Please see the Notice of Electronic Availability of Transcripts
                      document at www.cod.uscourts.gov.

                      Transcript may only be viewed at the court public terminal or purchased through
                      the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting
                      on PACER. Release of Transcript Restriction set for 2/3/2014. (Avery Woods
                      Reporting, ) (Entered: 11/01/2013)
    11/14/2013    69 CJA 21/31 Request for Service as to Mimi M. Vigil. (Attachments: # 1 CJA
                     Attachment)(Tatum, John) (Entered: 11/14/2013)
    11/15/2013    70 CJA 21/31 Authorization for Service as to Mimi M. Vigil by Judge Christine M.
                     Arguello on 11/15/2013. (smatl, ) (Entered: 11/20/2013)
    03/04/2014   109 CJA 21/31 Payment Request as to Mimi M. Vigil. (Attachments: # 1 CJA
                     Attachment)(Tatum, John) (Entered: 03/04/2014)
    03/06/2014   111 MOTION to Disclose Grand Jury Material to Defendant John Joseph Pawelski by
                     USA as to George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, Clara M.
                     Mueller. (Attachments: # 1 Proposed Order (PDF Only))(Paluch, Martha) (Entered:
                     03/06/2014)
    03/18/2014   125 CJA 20/30 Payment Request as to Mimi M. Vigil. (Attachments: # 1 CJA
                     Attachment, # 2 CJA Attachment)(Tatum, John) (Entered: 03/18/2014)
    03/27/2014   134 Unopposed MOTION for Extension of Time to File Motions by Mimi M. Vigil.
                     (Tatum, John) (Entered: 03/27/2014)
    04/01/2014   140 MOTION for James Hearing to Exclude Hearsay Statements and for Pretrial
                     Evidentiary Hearing to Determine Admissibility of Co−Conspirator Hearsay
                     Statements Pursuant to F.R.E. 801(d)(2)(E) by Mimi M. Vigil. (Tatum, John)
                     (Entered: 04/01/2014)
    04/01/2014   142 MOTION to Suppress Evidence − Illegal Search of Home and Violation of
                     Attorney/Client Privilege by Mimi M. Vigil. (Tatum, John) (Entered: 04/01/2014)
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    04/01/2014   143 MOTION to Sever Defendant and for Relief from Prejudicial Joinder by Mimi M.
                     Vigil. (Tatum, John) (Entered: 04/01/2014)
    04/02/2014   144 ORDER GRANTING 134 Motion for Extension of Time to File as to Mimi M.
                     Vigil (3). Pretrial motions for all parties in this matter are due by 04/08/2014.
                     Responses for all parties are due by 04/21/2014. SO ORDERED BY Judge
                     Christine M. Arguello on 04/02/14. Text Only Entry (cmasec) (Entered:
                     04/02/2014)
    04/07/2014   146 CJA 21/31 Request for Service as to Mimi M. Vigil. (Attachments: # 1 CJA
                     Attachment)(Tatum, John) (Entered: 04/07/2014)
    04/08/2014   155 MEMORANDUM in Support by Mimi M. Vigil re 143 MOTION to Sever
                     Defendant and for Relief from Prejudicial Joinder (Attachments: # 1 Exhibit A, # 2
                     Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
                     G)(Tatum, John) (Entered: 04/08/2014)
    04/09/2014   158 Unopposed MOTION to Continue Trial and Motions Hearing and to Exclude an
                     Additional 120 Days from the Otherwise Applicable Speedy Trial Calculation in
                     this Action by Mimi M. Vigil. (Tatum, John) (Entered: 04/09/2014)
    04/13/2014   191 CJA 21/31 Authorization for Service as to Mimi M. Vigil by Judge Christine M.
                     Arguello on 4/13/2014. (shugh) (Entered: 04/29/2014)
    04/13/2014   201 CJA 21/31 Payment Authorization as to Mimi M. Vigil by Judge Christine M.
                     Arguello on 4/13/2014. (shugh) (Entered: 05/12/2014)
    04/16/2014   164 ORDER granting 158 Motion to Continue and a 120 Day Ends of Justice
                     Continuance as to Mimi M. Vigil, George Thomas Brokaw, John J. Pawelski, Clara
                     M. Mueller. Motion Hearing, Final Trial Preparation Conference, and Jury Trial
                     are vacated. Status Conference set for 7/2/2014 02:30 PM in Courtroom A 602
                     before Judge Christine M. Arguello. By Judge Christine M. Arguello on
                     04/16/2014. (athom, ) (Entered: 04/16/2014)
    04/18/2014   171 RESPONSE to Motion by USA as to John J. Pawelski, Mimi M. Vigil, Clara M.
                     Mueller re 161 MOTION to Exclude MOTION for Hearing, 140 MOTION for
                     James Hearing to Exclude Hearsay Statements and for Pretrial Evidentiary
                     Hearing to Determine Admissibility of Co−Conspirator Hearsay Statements
                     Pursuant to F.R.E. 801(d)(2)(E), 141 MOTION for James Hearing (Kirsch,
                     Matthew) (Entered: 04/18/2014)
    04/18/2014   172 RESPONSE in Opposition by USA as to Mimi M. Vigil, Clara M. Mueller re 143
                     MOTION to Sever Defendant and for Relief from Prejudicial Joinder, 157
                     MOTION to Sever Defendant (Kirsch, Matthew) (Entered: 04/18/2014)
    04/18/2014   175 RESPONSE to Motion by USA as to Mimi M. Vigil re 142 MOTION to Suppress
                     Evidence − Illegal Search of Home and Violation of Attorney/Client Privilege
                     (Paluch, Martha) (Entered: 04/18/2014)
    04/22/2014   184 MOTION for Order TO RE−SCHEDULE STATUS CONFERENCE by USA as to
                     George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, Clara M. Mueller.
                     (Kirsch, Matthew) (Entered: 04/22/2014)
    05/10/2014   205 CJA 20/30 Payment Authorization as to Mimi M. Vigil by Judge Christine M.
                     Arguello on 5/10/2014. (shugh) (Entered: 05/23/2014)
    05/29/2014   207 RESPONSE to Motion by Mimi M. Vigil re 184 MOTION for Order TO
                     RE−SCHEDULE STATUS CONFERENCE and Request for Ruling Thereon
                     (Tatum, John) (Entered: 05/29/2014)
    06/03/2014   209 ORDER GRANTING 184 Motion for Order as to George Thomas Brokaw (1),
                     John J. Pawelski (2), Mimi M. Vigil (3), Clara M. Mueller (4). The Status
                     Conference in this matter, set for 07/02/2014, is VACATED and must be reset.
                     Counsel and pro se parties are DIRECTED to call Chambers (303−335−2174) via
                     conference call no later than 06/09/2014 in order to reset this tatus Conference. SO
                     ORDERED BY Judge Christine M. Arguello on 06/03/14. Text Only Entry
                     (cmasec) (Entered: 06/03/2014)
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    06/06/2014   211 MINUTE ORDER as to George Thomas Brokaw, John J. Pawelski, Mimi M.
                     Vigil, Clara M. Mueller: Pursuant to a telephone conference between counsel,
                     Defendant Brokow, Defendant Pawelski and Chambers staff, a Scheduling/Status
                     Conference is set in this matter on 07/16/2014 at 11:00 AM, in Courtroom A602,
                     before Judge Christine M. Arguello. SO ORDERED BY Judge Christine M.
                     Arguello on 06/06/14. Text Only Entry (cmasec) (Entered: 06/06/2014)
    06/10/2014   214 CJA 21/31 Payment Request as to Mimi M. Vigil. (Attachments: # 1 CJA
                     Attachment)(Tatum, John) (Entered: 06/10/2014)
    06/12/2014   217 ORDER as to George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, and Clara
                     M. Mueller: 152 Motion to Modify Conditions of Release is granted. The Court
                     reserves ruling on motions 140 , 141 , 142 , and 161 . The Court denies the
                     remainder of the pending motions 103 , 104 , 122 , 123 , 135 , 137 , 143 , 150 , 151
                     , 153 , 156 , 157 , 159 , 160 , 162 , 185 , 202 , 212 , 213 , 215 , 216 . By Judge
                     Christine M. Arguello on 06/12/2014. (athom, ) (Entered: 06/13/2014)
    06/17/2014   220 MOTION to Modify Conditions of Release by Mimi M. Vigil. (Tatum, John)
                     (Entered: 06/17/2014)
    06/27/2014   223 RESPONSE by USA as to George Thomas Brokaw, John J. Pawelski, Mimi M.
                     Vigil, Clara M. Mueller re: 217 Order Modifying Conditions of Supervision,,
                     Terminate Motions, (Kirsch, Matthew) (Entered: 06/27/2014)
    07/07/2014   224 CJA 21/31 Payment Request as to Mimi M. Vigil. (Attachments: # 1 CJA
                     Attachment)(Tatum, John) (Entered: 07/07/2014)
    07/10/2014   230 CJA 21/31 Payment Authorization as to Mimi M. Vigil by Judge Christine M.
                     Arguello on 7/10/2014. (shugh) (Entered: 07/17/2014)
    07/16/2014   232 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Status
                     Conference as to George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil, Clara
                     M. Mueller held on 7/16/2014. Defendants present on bond. ORDER: The
                     proposed scheduling order regarding the James log 223 is approved. The
                     Defendants shall file objections by 9/16/2014. The Government shall file any
                     objections by 9/30/2014. With respect to Defendant Vigil's Motion to Modify
                     Conditions of Release to Permit Contact with Co−Defendant Mueller, defense
                     counsel for Defendant Muller shall file a proposed order. HEARING: A James
                     Hearing is set for 10/3/2014 at 10:00 AM in Courtroom A602 before Judge
                     Christine M. Arguello on all outstanding motions. TRIAL: A Three−week Jury
                     Trial is set for 11/3/2014 at 8:30 AM. A Final Trial Preparation Conference is set
                     for 10/9/2014 at 3:00 PM. (Total time: 00:39, Hearing time: 11:09−11:48)

                       APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                       Government, George Brokaw (pro se), John Pawelski (pro se), John Tatum on
                       behalf of Mimi Vigil, Miller Leonard on behalf of Clara Mueller. Court Reporter:
                       Darlene Martinez. (shart) Text Only Entry (Entered: 07/17/2014)
    07/17/2014   231 MOTION to Modify 220 MOTION to Modify Conditions of Release filed by Mimi
                     M. Vigil by Clara M. Mueller as to George Thomas Brokaw, John J. Pawelski,
                     Mimi M. Vigil, Clara M. Mueller. (Leonard, Miller) (Entered: 07/17/2014)
    07/17/2014   233 NOTICE of Defendant's Prior Acquaintanceship with Judge Assigned to Case by
                     Mimi M. Vigil (Tatum, John) (Entered: 07/17/2014)
    07/17/2014   234 MOTION to Withdraw as Attorney and Defendant Vigil's Motion for
                     Self−Representation by John S. Tatum by Mimi M. Vigil. (Tatum, John) (Entered:
                     07/17/2014)
    07/23/2014   235 MOTION for Order by Clara M. Mueller as to George Thomas Brokaw, John J.
                     Pawelski, Mimi M. Vigil, Clara M. Mueller. (Attachments: # 1 Proposed Order
                     (PDF Only))(Leonard, Miller) (Entered: 07/23/2014)
    07/24/2014   238 ORDER re 235 Motion for Order as to Clara M. Mueller. By Judge Christine M.
                     Arguello on 07/24/2014. (athom, ) (Entered: 07/25/2014)
    07/24/2014   255 CJA 21/31 Payment Authorization as to Mimi M. Vigil by Judge Christine M.
                     Arguello on 7/24/2014. (shugh) (Entered: 08/20/2014)
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    07/25/2014   236 NOTICE re 233 Notice of Prior Acquaintanceship by Mimi M. Vigil (3). Although
                     this Court did practice law and was actively involved in the Colorado Springs
                     Community in the late 1980's and early 1990's, she has never been a member of the
                     Hispanic Chamber of Commerce of Colorado Springs, nor has she ever attended
                     any meeting or event or served on any committee of the Hispanic Chamber of
                     Commerce of Colorado Springs. This Court has no recollection of ever meeting or
                     talking to Ms. Vigil at any time. Therefore, there is no reason for the Court to
                     recuse herself in this case. (cmasec) (Entered: 07/25/2014)
    07/25/2014   237 MINUTE ORDER as to Mimi M. Vigil re 234 MOTION to Withdraw as Attorney
                     and Defendant Vigil's Motion for Self−Representation by John S. Tatum filed by
                     Mimi M. Vigil: This matter is before the Court sua sponte. Upon review of
                     Defendant's motion for self−representation and for withdrawal by present counsel,
                     a hearing on said motion is set for 08/12/2014 at 9:00 AM, in Courtroom A602,
                     before Judge Christine M. Arguello. Only government counsel, defense counsel for
                     Defendant Vigil and Defendant Vigil are to be present at this hearing. SO
                     ORDERED BY Judge Christine M. Arguello on 07/25/14. Text Only Entry
                     (cmasec) (Entered: 07/25/2014)
    07/25/2014   239 Utility Setting Hearing as to Mimi M. Vigil: Motion Hearing set for 8/12/2014 at
                     09:00 AM in Courtroom A 602 before Judge Christine M. Arguello pursuant to 237
                     Minute Order. Text Only Entry (athom, ) (Entered: 07/28/2014)
    08/05/2014   244 CJA MOTION by Mimi M. Vigil. (Attachments: # 1 Exhibit Ex A Copy of Doc
                     #118 CJA Request, # 2 Exhibit Ex B Invoice Advocates Resources LLC)(Tatum,
                     John) (Entered: 08/05/2014)
    08/06/2014   245 ORDER as to Mimi M. Vigil. Because a conflict has arisen on the Courts docket,
                     the Motion Hearing currently set for 8/12/2014 at 9:00 AM is VACATED. By
                     Judge Christine M. Arguello on 08/06/2014. (athom, ) (Entered: 08/06/2014)
    08/08/2014   246 ORDER Setting Hearing on Motion as to Mimi M. Vigil re 234 MOTION to
                     Withdraw as Attorney and Defendant Vigil's Motion for Self−Representation by
                     John S. Tatum : Motion Hearing is RESET for 8/15/2014 09:00 AM in Courtroom
                     A 602 before Judge Christine M. Arguello. SO ORDERED by Judge Christine M.
                     Arguello on 8/8/2014. Text Only Entry (shart) (Entered: 08/08/2014)
    08/14/2014   247 ORDER granting 220 Motion to Modify Conditions of Release as to Mimi M.
                     Vigil; granting 231 Motion to Modify as to Mimi M. Vigil,Clara M. Mueller. By
                     Judge Christine M. Arguello on 08/14/2014. (athom, ) (Entered: 08/14/2014)
    08/14/2014   248 Unopposed MOTION for Order To Allow Defense Counsel To Pay for Medical
                     Records by Clara M. Mueller as to George Thomas Brokaw, John J. Pawelski,
                     Mimi M. Vigil, Clara M. Mueller. (Leonard, Miller) (Entered: 08/14/2014)
    08/14/2014   249 Government's Proffer by USA as to George Thomas Brokaw, John J. Pawelski,
                     Mimi M. Vigil, Clara M. Mueller (Attachments: # 1 Exhibit 1 Attachment A, # 2
                     Exhibit 1 Attachment B, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, # 6 Exhibit 5, #
                     7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12
                     Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17
                     Exhibit 16, # 18 Exhibit 17, # 19 Exhibit 18, # 20 Exhibit 19, # 21 Exhibit 20, # 22
                     Exhibit 21, # 23 Exhibit 22, # 24 Exhibit 23, # 25 Exhibit 24, # 26 Exhibit 25, # 27
                     Exhibit 26, # 28 Exhibit 27, # 29 Exhibit 28, # 30 Exhibit 29, # 31 Exhibit 30, # 32
                     Exhibit 31, # 33 Exhibit 32, # 34 Exhibit 33, # 35 Exhibit 34, # 36 Exhibit
                     35)(Kirsch, Matthew) (Entered: 08/14/2014)
    08/15/2014   250 MOTION to Disclose Grand Jury Material to Defendant by USA as to Mimi M.
                     Vigil. (Attachments: # 1 Proposed Order (PDF Only))(Kirsch, Matthew) (Entered:
                     08/15/2014)
    08/15/2014   251 SUPPLEMENT to 249 Govt's Proffer,,, by USA as to George Thomas Brokaw,
                     John J. Pawelski, Mimi M. Vigil, Clara M. Mueller (Attachments: # 1 Exhibit 10, #
                     2 Exhibit 11, # 3 Exhibit 13, # 4 Exhibit 14, # 5 Exhibit 15, # 6 Exhibit 16, # 7
                     Exhibit 23)(Kirsch, Matthew) (Entered: 08/15/2014)
    08/15/2014   252 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                     Motion Hearing as to Mimi M. Vigil held on 8/15/2014. Defendant present; on
                     bond. ORDER: A portion of this transcript is to remain under seal until further
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                      Order of the Court. MOTION and RULING: Defendant's Motion to Withdraw
                      Attorney and Defendant Vigil's Motion for Self−Representation 234 is granted.
                      The Court will allow Mr. Tatum to withdraw as counsel and for Defendant Vigil to
                      proceed pro se. The Court will make this order effective as of close of business on
                      Tuesday August 19, 2014 as requested by Mr. Tatum in order to give Mr. Tatum
                      sufficient time to prepare a closing letter to advise Ms. Vigil of how to proceed
                      forward. Defendant is allowed to remain free on bond as stated in the order setting
                      conditions of release.(Total time: 00:51, Hearing time: 9:00−9:51)

                      APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                      Government, John Tatum on behalf of the defendant. Court Reporter: Darlene
                      Martinez. (shart) Text Only Entry (Entered: 08/18/2014)
    08/19/2014   256 ORDER re 250 Motion to Disclose Grand Jury Material as to Mimi M. Vigil. It is
                     ORDERED that a copy of the transcripts of testimony given before the grand jury
                     and related exhibits be disclosed to pro se Defendant Mimi M. Vigil for preparation
                     for trial. By Judge Christine M. Arguello on 08/19/2014. (athom, ) (Entered:
                     08/20/2014)
    08/27/2014   257 CJA 21/31 Payment Request as to Mimi M. Vigil. (Attachments: # 1 CJA
                     Attachment)(Tatum, John) (Entered: 08/27/2014)
    08/27/2014   258 CJA 20/30 Payment Request as to Mimi M. Vigil. (Attachments: # 1 CJA
                     Attachment, # 2 CJA Attachment)(Tatum, John) (Entered: 08/27/2014)
    09/08/2014   265 NOTICE of Indemnification Contract With United States by Mimi M. Vigil
                     (athom, ) (Entered: 09/10/2014)
    09/19/2014   273 CJA 21/31 Payment Authorization as to Mimi M. Vigil by Judge Christine M.
                     Arguello on 9/19/2014. (shugh) (Entered: 09/24/2014)
    09/19/2014   284 CJA 20/30 Payment Authorization as to Mimi M. Vigil by Judge Christine M.
                     Arguello on 9/19/2014. (shugh) (Entered: 10/01/2014)
    09/23/2014   274 Letter to the Department of the Treasury by Mimi M. Vigil. (athom, ) (Entered:
                     09/24/2014)
    09/23/2014   275 Letter to the US Department of Transportation by Mimi M. Vigil. (athom, )
                     (Entered: 09/24/2014)
    10/03/2014   285 NOTICE of Dejure Private American Citizenship Status by Mimi M. Vigil (athom,
                     ) (Entered: 10/03/2014)
    10/03/2014   286 MINUTE ENTRY for James Hearing held on 10/3/2014 before Judge Christine M.
                     Arguello: Defendants present; on bond. MOTIONS and RULINGS: Defendant
                     Mueller's Motion for James Hearing 141 is denied as moot. Defendant Pawelski's
                     Amended Motion for Advisory Counsel 218 is granted. Attorney Richard Stuckey
                     is appointed as advisory counsel to Defendant Pawelski only. Defendant Pawelski's
                     Notice of Objection to Exhibits which is construed by the Court as a Motion to
                     Strike 278 ruling is reserved until trial. Defendant Pawelski's Motion to Dismiss
                     261 is denied. Defendant Pawelski's Motion to Accelerate Ruling 268 is denied.
                     Defendant Pawelski's Motion to Exclude Hearsay Statements and for Pretrial
                     Evidentiary Hearing to Determine Admissibility of Co−Conspirator Hearsay
                     Statements Pursuant to F.R.E. 801(d)(2)(E) 161 is denied. Defendant Brokaw's
                     Motion to Dismiss 267 is denied. Defendant Vigil's Motion for James Hearing to
                     Exclude Hearsay Statements and for Pretrial Evidentiary Hearing to Determine
                     Admissibility of Co−Conspirator Hearsay Statement Pursuant to F.R.E.
                     801(d)(2)(E) 140 is denied. The James Hearing evidence is provisionally admitted
                     subject to the Government putting on testimony. Defendants' bond continued.
                     (Total time: 00:48, Hearing time: 10:10−10:58)

                      APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                      Government, George Brokaw, Pro Se, John Pawelski, Pro Se, Mimi Vigil, Pro Se.
                      Court Reporter: Darlene Martinez. (shart) Text Only Entry Modified on 10/9/2014
                      to note the type of hearing held. Modified on 10/15/2014 (shart, ). (Entered:
                      10/03/2014)
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     10/06/2014   287 AFFIDAVIT by Mimi M. Vigil re 285 Notice filed by Mimi M. Vigil (athom, )
                      (Entered: 10/07/2014)
     10/08/2014   290 NOTICE of Entry of Appearance as a Third Party of Interest Mandatory Judicial
                      Notice by Mimi M. Vigil (Attachments: # 1 Exhibit A)(athom, ) (Entered:
                      10/09/2014)
     10/09/2014   311 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Final
                      Trial Preparation Conference as to George Thomas Brokaw, John J. Pawelski,
                      Mimi M. Vigil held on 10/9/2014. Defendants present; on bond. Defendant Brokaw
                      was removed by U.S. Marshals from this proceeding. MOTIONS and RULINGS:
                      Defendant Brokaw's Request for Passport Card 282 is denied. Defendant
                      Pawelski's Oral Motion for the Issuance of a Subpoena In Forma Pauperis as to Mr.
                      Kimbrel is granted. The Court lifts the restriction from bond conditions that
                      preclude talking to prospective witnesses as to Defendant Pawelski, only.
                      DEADLINES: Defendant Pawelski is to provide the following by 10/16/2014:
                      subpoenas with the language that the Defendant wants to the Government; a proffer
                      regarding the relevance of Dr. Schroeder's testimony; a brief that outlines Section
                      25 that would impact the credibility of witnesses; and to file justification to the
                      issuance of subpoena duces tecum as to the government witnesses. TRIAL: A
                      3−week jury trial is set for 11/3/2014 at 8:30 AM. The parties waive to the
                      transcription of jury instructions. Sequestration of witnesses. There will be no
                      additional voir dire by the parties. Government will have 7 strikes and the
                      Defendants will have 11 strikes. Jury of 14 with two alternates. Jurors will be
                      allowed to take notes. Defendants' bond continued. (Total time: 01:22, Hearing
                      time: 2:58−4:20)

                        APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                        Government, George Brokaw, Pro Se, John Pawelski, Pro Se, Mimi Vigil, Pro Se
                        on behalf of the defendant. Court Reporter: Darlene Martinez. (shart, ) Text Only
                        Entry (Entered: 10/15/2014)
     10/10/2014   291 MINUTE ORDER as to George Thomas Brokaw (1), John J. Pawelski 2), Mimi M.
                      Vigil (3): This matter is before the Court sua sponte. The Court wishes to advise
                      the parties that a modified trial schedule is conducted in her courtroom. The first
                      day of trial, 11/03/2014, will begin at 8:30 AM with jury selection, and continue
                      until 5:00 PM. Each subsequent day will begin at 8:00 AM and end at 2:30 PM.
                      There will be a 15−min. break in the morning and a 15−min. break in the
                      afternoon, with a half−hour lunch break. FURTHER, the Court wishes to advise
                      that Tuesday, 11/11/2014, is a public holiday, and Friday, 11/14/2014, has
                      previously been set aside as a judicial administrative day. Therefore, there will be
                      no trial proceedings conducted on those two days. SO ORDERED BY Judge
                      Christine M. Arguello on 10/10/14. Text Only Entry (cmasec) (Entered:
                      10/10/2014)
     10/28/2014   317 TRANSCRIPT of Status Conference as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil, Clara M. Mueller held on 7/16/14 before Judge Arguello.
                      Pages: 1−27. <br><br> NOTICE − REDACTION OF TRANSCRIPTS: Within
                      seven calendar days of this filing, each party shall inform the Court, by filing
                      a Notice of Intent to Redact, of the party's intent to redact personal identifiers
                      from the electronic transcript of the court proceeding. If a Notice of Intent to
                      Redact is not filed within the allotted time, this transcript will be made
                      electronically available after 90 days. Please see the Notice of Electronic
                      Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                      Transcript may only be viewed at the court public terminal or purchased through
                      the Court Reporter/Transcriber prior to the 90 day deadline for electronic posting
                      on PACER. Release of Transcript Restriction set for 1/29/2015. (dmart, ) (Entered:
                      10/28/2014)
     10/28/2014   318 TRANSCRIPT of Motions Hearing as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil, Clara M. Mueller held on 10/03/14 before Judge
                      Arguello. Pages: 1−37. <br><br> NOTICE − REDACTION OF
                      TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                      inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                      redact personal identifiers from the electronic transcript of the court
                      proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
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                        this transcript will be made electronically available after 90 days. Please see
                        the Notice of Electronic Availability of Transcripts document at
                        www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court
                        public terminal or purchased through the Court Reporter/Transcriber prior to the 90
                        day deadline for electronic posting on PACER. Release of Transcript Restriction
                        set for 1/29/2015. (dmart, ) (Entered: 10/28/2014)
     10/28/2014   319 TRANSCRIPT of Final Trial Preparations Conference as to George Thomas
                      Brokaw, John J. Pawelski, Mimi M. Vigil, Clara M. Mueller held on 10/09/14
                      before Judge Arguello. Pages: 1−61. <br><br> NOTICE − REDACTION OF
                      TRANSCRIPTS: Within seven calendar days of this filing, each party shall
                      inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                      redact personal identifiers from the electronic transcript of the court
                      proceeding. If a Notice of Intent to Redact is not filed within the allotted time,
                      this transcript will be made electronically available after 90 days. Please see
                      the Notice of Electronic Availability of Transcripts document at
                      www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court
                      public terminal or purchased through the Court Reporter/Transcriber prior to the 90
                      day deadline for electronic posting on PACER. Release of Transcript Restriction
                      set for 1/29/2015. (dmart, ) (Entered: 10/28/2014)
     10/29/2014   320 NOTICE Entry of Appearance as a Third Party of Interest, Maditory Judicial
                      Notice, Affidavit of Truth, Mandatory Judicial Notice, Notice of Indemnification
                      Contract With United States by Mimi M. Vigil (Attachments: # 1 Exhibit A)
                      (athom, ) (Entered: 10/29/2014)
     10/29/2014   323 Manditory Judicial NOTICE by Mimi M. Vigil (athom, ) (Entered: 10/29/2014)
     10/29/2014   326 RESTRICTED BAIL REPORT − Level 4: as to Mimi M. Vigil. (athom, )
                      (Entered: 10/29/2014)
     10/29/2014   327 RESTRICTED BAIL STATUS REPORT−RECONSIDERATION − Level 4: re:
                      326 as to Mimi M. Vigil. (athom, ) (Entered: 10/29/2014)
     10/30/2014   329 Manditory Judicial NOTICE by Mimi M. Vigil (athom, ) (Entered: 10/30/2014)
     11/03/2014   337 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury
                      Trial−DAY ONE held on 11/3/2014 as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil. Defendants present; on bond. MOTIONS and
                      RULINGS: Defendant Pawelski's Motion to Terminate Counsel Representative,
                      Subpeona Orders, and Investigator 315 is granted in part and denied in part.
                      Attorney Richard Stuckey is relieved from representation and is excused for the
                      remainder of the trial. Defendant Pawelski's Motion for Order for Service of
                      Subpoenas in Forma Pauperis 294 is denied. Defendant Pawelski's Motion for an
                      Open File Policy and Production of All Records in all State and Federal Agencies
                      and Request to Declare FrCrimP16 Unconstitutional 296 is denied. Defendant
                      Pawelski's Motion for Finding of Fact and Conclusions of Law 297 is denied.
                      Defendant Pawelski's Motion for Court Order for Petitioner to Receive Contact
                      Information 298 is denied. Defendant Pawelski's Motion for Production of
                      FINCEN Records, or Dismissal of Indictment with Prejudice Due to Violation of
                      the First, Fourth, Fifth, and Sixth Amendments of the United States 299 is denied.
                      Defendants informed the Court that they did not recognize the Court's jurisdiction
                      over them, they were not the proper parties in the case, and they did not wish to
                      participate in the trial. Defendant's attempted to leave the Courtroom but were
                      stopped by Deputy Marshals. Defendants indicated that they wished to sit in the
                      holding cells next to the courtroom rather than remain in the courtroom and they
                      were allowed to do so. TRIAL: Jury Selection. Voir Dire. Jury of 14 impaneled and
                      sworn. A juror was dismissed for a reason known to the Court. Case will be tried to
                      a jury of 13. WITNESSES SWORN AND TESTIFIED: Michael Pryor, Troy
                      Parker, William Frankel. EXHIBITS ADMITTED AND ENTERED: 82, 83, 84,
                      210, 250, 258, 289, 320, 321, 322, 323, 324, 325, 326. Jury is excused with the
                      instruction to return on 11/4/2014 at 8:00AM. Outside the hearing of the jury, the
                      Court gave further advisements to Defendants regarding their rights and options
                      and advised them that the Court would not require them to be present at trial if they
                      did not wish to be present. The court, however, directed the Defendants to contact
                      their assigned probation officers, prior to 8:00 AM on 11/4/2014, to advise whether
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                        they intended to participate further in the trial. Court further advised Defendants
                        that it would require them to be present for the reading of the Verdict. Defendants'
                        bond continued subject to the same terms and conditions as set for the forth in the
                        order setting conditions of release. (Total time: 04:39, Hearing time: 8:47−3:41)

                        APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                        Government, George Brokaw, Mimi Vigil and John Pawelski, pro se. Court
                        Reporter: Darlene Martinez. (shart) Text Only Entry (Entered: 11/04/2014)
     11/04/2014   336 MOTION to Modify Bond Conditions by USA as to George Thomas Brokaw, John
                      J. Pawelski, Mimi M. Vigil, Clara M. Mueller. (Kirsch, Matthew) (Entered:
                      11/04/2014)
     11/04/2014   339 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury
                      Trial DAY TWO as to George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil
                      held on 11/4/2014. Defendants not present. Pursuant to the Court's order on
                      11/3/2014, Defendant Vigil contacted her probation officer and stated that she
                      would not be present for trial. Defendants Brokaw and Pawelski did not contact
                      their probation officers to advise whether or not they would be present for trial, but
                      upon being contacted by the probation office, confirmed that they chose not to
                      participate. WITNESSES SWORN AND TESTIFIED: Kristy Morgan, Stacie
                      Gleeson, David Riordan, William McLeod, Kelly Hanson, Michael Gorham, Toni
                      Payne, Tamie Lucas. EXHIBITS RECEIVED:10, 11, 12, 13, 14, 15, 16, 17, 18, 19,
                      20, 21, 22, 23, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40, 41, 42, 50, 51, 52, 53, 60,
                      61, 62, 70, 71, 72, 73, 74, page 49 of 80, pages 50 and 52 of 80 (conditionally), 90,
                      91, 92, 93, 94, 96, 97, 98, 99, 100, 101, 102, 103, 104, 106, 110, 125, 202, 203,
                      204, 205, 206, 207, 208, 209, 212, 215, 216, 218, 219, 220, 221, 251, 253, 254,
                      255, 256, 257, 259, 260, 261, 262, 263, 272, 300, 301. (Total time: 05:19, Hearing
                      time: 8:14−2:22)

                        APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                        Government, Defendants not present. Court Reporter: Darlene Martinez. (shart)
                        Text Only Entry Modified on 11/5/2014 to indicate the day number (shart).
                        (Entered: 11/05/2014)
     11/04/2014   340 RESTRICTED DOCUMENT − Level 1: by Mimi M. Vigil. (shart) (Entered:
                      11/05/2014)
     11/04/2014   341 Court Exhibit 1. Public entry to 340 RESTRICTED DOCUMENT LEVEL 1 filed
                      on 11/4/2014. (shart) (Entered: 11/05/2014)
     11/05/2014   342 ORDER Directing Defendants to Appear as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil. By Judge Christine M. Arguello on 11/05/2014. (athom,
                      ) (Entered: 11/05/2014)
     11/05/2014   350 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury
                      Trial−DAY THREE as to George Thomas Brokaw, John J. Pawelski, Mimi M.
                      Vigil held on 11/5/2014. Defendants not present. WITNESSES SWORN AND
                      TESTIFIED: Peter Lee, Ginger Wray, Howard Beck, David Silverman, Cynthia
                      Wood, Annette Perea, Susan Skovgaard, Adam Rutkowski, Kymberly Johnson,
                      Brian Canty, Maureen Green, Marilyn Alvarez, Pamela Combe. EXHIBITS
                      RECEIVED: 120, 121, 211, 264, 265, 266, 267, 268, 269, 290. Jury is excused for
                      the day with the instruction to return on 11/6/2014 at 8:00 AM. Trial continued.
                      (Total time: 03:05, Hearing time: 8:03−11:53)

                        APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                        Government, Defendants not present. Court Reporter: Darlene Martinez. (shart)
                        Text Only Entry (Entered: 11/07/2014)
     11/06/2014   347 Manditory Judicial NOTICE by Mimi M. Vigil (athom, ) (Entered: 11/06/2014)
     11/06/2014   361 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury
                      Trial−DAY FOUR as to George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil
                      held on 11/6/2014. Defendants present; on bond. MOTION and RULING:
                      Defendant Pawelski's oral motion for a status hearing is denied. Defendant
                      Pawelski's Emergency Motion for the Court to Declare a State of Judicial Bias in
                      this Case and to Dismiss this Case Prior to Trial 343 is denied. WITNESSES
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                        SWORN AND TESTIFIED: Leland Derring, Michael Quinn, Stacy Ebert, Linda
                        Chavez, Lynette Cornelius, Dulce Marroquinn, Anthony Dillman, Terry Gearhart,
                        John Maloney, Paul Danley, Timothy OMalley, Mario Morales, Darcy Emme.
                        EXHIBITS RECEIVED: 113, 114, 116, 117, 118, 119, 122, 123, 124, 126, 127,
                        128, 213, 270, 271. Charging conference. Government rests. Defendants chose not
                        to present evidence nor to testify. Jury instructed. Closing arguments. Jury
                        deliberations begin. (Total time: 05:37, Hearing time: 7:56−2:42)

                        APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                        Government, John Pawleski, George Brokaw, Mimi Vigil pro se. Court Reporter:
                        Darlene Martinez. (shart) Text Only Entry (Entered: 11/10/2014)
     11/06/2014   362 Proposed Jury Instructions (shart) (Entered: 11/10/2014)
     11/06/2014   363 Court Exhibit 2 (shart) (Entered: 11/10/2014)
     11/07/2014   352 COURTROOM MINUTES for Detention Hearing as to George Thomas Brokaw,
                      John J. Pawelski, Mimi M. Vigil held on 11/7/2014 before Magistrate Judge
                      Kathleen M. Tafoya. Defendants present in custody. Statements by the Defendants.
                      Government states its position regarding bond. Discussion regarding Defendants'
                      conduct during trial before District Judge Arguello. Statement by Mr. Brokaw's
                      wife. The Court would like to contact certain probation officers to gather additional
                      information. Detention hearing continued to 11/7/14 at 3:00 PM before Magistrate
                      Judge Kathleen M. Tafoya. Defendants remanded. Hearing continued.(Total time:
                      44 mins, Hearing time: 12:34−1:18)

                        APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                        Government. FTR: KMT C201. (sgrim) Text Only Entry (Entered: 11/07/2014)
     11/07/2014   353 COURTROOM MINUTES for Detention Hearing as to George Thomas Brokaw,
                      John J. Pawelski, Mimi M. Vigil held on 11/7/2014 before Magistrate Judge
                      Kathleen M. Tafoya. Defendant present in custody. Court has contacted several
                      individuals from the probation department and has verified that the Defendants
                      have complied with their previous bond conditions. Bond set as to George Thomas
                      Brokaw (1) $50,000 unsecured, John J. Pawelski (2) $25,000 unsecured, Mimi M.
                      Vigil (3) $25,000 unsecured. Defendant advised of conditions of bond, to include
                      GPS monitoring and a curfew, and remanded for processing and to be released
                      from the Byron Rogers Courthouse to probation for monitoring set up. (Total time:
                      23 mins, Hearing time: 3:08−3:31)

                        APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                        Government, Darren Streich on behalf of probation. FTR: KMT C201. (sgrim)
                        Text Only Entry (Entered: 11/07/2014)
     11/07/2014   358 Bond Entered as to Mimi M. Vigil in amount of $ $25,000, unsecured. (sgrim)
                      (Entered: 11/10/2014)
     11/07/2014   359 ORDER Setting Conditions of Release as to Mimi M. Vigil (3) $25,000 unsecured
                      by Magistrate Judge Kathleen M. Tafoya on 11/7/14. (sgrim) (Entered:
                      11/10/2014)
     11/07/2014   364 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Jury
                      Trial−DAY FIVE as to George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil
                      held on 11/7/2014. Defendants present; on bond. JURY VERDICT. Jury excused
                      with the thanks of the Court. HEARINGS: Sentencing hearing is set for 1/28/2015
                      at 3:30 PM. The US Probation Office shall prepare a Presentence Report in
                      accordance with Federal Rule of Criminal Procedure 32. The Parties shall file their
                      sentencing positions and all motions at least 14 days before the sentencing date;
                      responses or objections no later than seven days before the sentencing date.
                      Defendants are remanded and directed to the Duty Magistrate Judge for Detention
                      Hearings immediately following this proceeding. Trial concluded.(Total time:
                      00:15, Hearing time: 10:00−10:15)

                        APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                        Government, John Pawleski, George Brokaw, Mimi Vigil pro se. Darren Streich on
                        behalf of probation. Court Reporter: Darlene Martinez. (shart) Text Only Entry
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                        (Entered: 11/10/2014)
     11/07/2014   365 FINAL Jury Instructions as to George Thomas Brokaw, John J. Pawelski, Mimi M.
                      Vigil (shart) (Entered: 11/10/2014)
     11/07/2014   366 Court Note 3 as to George Thomas Brokaw, John J. Pawelski, Mimi M. Vigil
                      (shart) (Entered: 11/10/2014)
     11/07/2014   367 REDACTED JURY VERDICT as to George Thomas Brokaw, John J. Pawelski
                      and Mimi M. Vigil.(shart) (Entered: 11/10/2014)
     11/07/2014   368 Utility Setting/Resetting Deadlines/Hearings as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil: Text Only Entry. Pursuant to the Minute Entry dated
                      11/7/2014, Sentencing set for 1/28/2015 03:30 PM in Courtroom A 602 before
                      Judge Christine M. Arguello. (shart) (Entered: 11/12/2014)
     11/07/2014   371 Jury Verdict UnRedacted − Level 4 Viewable by Court Only (shart) (Entered:
                      11/21/2014)
     11/10/2014   360 MINUTE ORDER finding as moot 336 Motion to Modify Bond Conditions as to
                      George Thomas Brokaw (1), John J. Pawelski (2), Mimi M. Vigil (3), Clara M.
                      Mueller (4) in light of the court's reconsideration of bond on the three defendants
                      post−trial, by Magistrate Judge Kathleen M. Tafoya on 11/10/14. Text Only Entry
                      (sgrim) (Entered: 11/10/2014)
     11/18/2014   369 MOTION for New Trial Pursuant to FRCRIMP 33 by George Thomas Brokaw,
                      John J. Pawelski, Mimi M. Vigil. (athom, ) (Entered: 11/18/2014)
     11/20/2014   370 RESPONSE in Opposition by USA as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil re 369 MOTION for New Trial (Kirsch, Matthew)
                      (Entered: 11/20/2014)
     11/21/2014   372 SENTENCING STATEMENT by USA as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil (Attachments: # 1 Exhibit Government Exhibit 230, # 2
                      Exhibit Government Exhibit 231, # 3 Exhibit Government Exhibit 232)(Kirsch,
                      Matthew) (Entered: 11/21/2014)
     11/24/2014   373 ORDER denying 369 Motion for a New Trial Pursuant to FRCrimP 33 [sic] as to
                      George Thomas Brokaw (1), John J. Pawelski (2), Mimi M. Vigil (3) by Judge
                      Christine M. Arguello on 11/24/14. (dkals, ) (Entered: 11/24/2014)
     12/08/2014   378 MOTION for Reconsideration re 373 Order on Motion for New Trial and Request
                      for Findings of Fact and Law, by George Thomas Brokaw, John J. Pawelski, Mimi
                      M. Vigil. (evana, ) (Entered: 12/08/2014)
     12/15/2014   380 ORDER denying 378 Motion for Reconsideration as to George Thomas Brokaw
                      (1), John J. Pawelski (2), Mimi M. Vigil (3). By Judge Christine M. Arguello on
                      12/15/2014. (athom, ) (Entered: 12/16/2014)
     12/29/2014   383 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as
                      to Mimi M. Vigil. (lbump) (Entered: 12/29/2014)
     01/12/2015   386 SUPPLEMENT to 372 Sentencing Statement by USA as to Mimi M. Vigil
                      (Paluch, Martha) (Entered: 01/12/2015)
     01/14/2015   387 OBJECTION/RESPONSE to Presentence Report 381 , 382 , 383 by George
                      Thomas Brokaw, John J. Pawelski, Mimi M. Vigil. (athom, ) (Entered: 01/14/2015)
     01/16/2015   392 RESTRICTED PRESENTENCE REPORT as to Mimi M. Vigil (Attachments: # 1
                      Exhibit A)(lbump) (Entered: 01/16/2015)
     01/16/2015   393 RESTRICTED ADDENDUM to Presentence Report 392 as to Mimi M. Vigil
                      (lbump) (Entered: 01/16/2015)
     01/26/2015   394 STRICKEN Letter by Esther Jean Williams as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil (athom, ) Modified on 2/2/2015 to STRIKE pursuant to
                      the Minute Entry dated 1/29/2015. (shart, ). (Entered: 01/26/2015)
     01/26/2015   395 STRICKEN Letter by Jean M. Delmonico as to George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil (athom, ) Modified on 2/2/2015 to STRIKE pursuant to
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                       the Minute Entry dated 1/29/2015. (shart). (Entered: 01/26/2015)
     01/27/2015   398 STRICKEN Letter by Sea Back as to George Thomas Brokaw, John J. Pawelski,
                      Mimi M. Vigil (athom, ) Modified on 2/2/2015 to STRIKE pursuant to the Minute
                      Entry dated 1/29/2015. (shart) (Entered: 01/28/2015)
     01/27/2015   399 STRICKEN PETITION for Writ of Habeas Corpus by George Thomas Brokaw,
                      John J. Pawelski, Mimi M. Vigil (athom, ) Modified on 2/2/2015 to STRIKE
                      pursuant to the Minute Entry dated 1/29/2015. (shart) (Entered: 01/28/2015)
     01/28/2015   401 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                      Sentencing held on 1/28/2015 as to defendant George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil. Defendants not present. ORDERED: The Court will
                      issue Bench Warrants for the arrest of the defendants. Sentencing is CONTINUED
                      to 1/29/2015 03:30 PM in Courtroom A 602 before Judge Christine M. Arguello,
                      contingent upon the arrest of the defendants.(Total time: 00:02, Hearing time:
                      3:45−3:47)

                       APPEARANCES: Matthew Kirsch, Martha Paluch on behalf of the Government,
                       Not Present on behalf of the defendant, Gary Burney, Robert Ford on behalf of
                       probation. Court Reporter: Darlene Martinez. (shart) Text Only Entry (Entered:
                       01/28/2015)
     01/28/2015   403 RESTRICTED DOCUMENT − Level 3. (athom, ) (Entered: 01/28/2015)
     01/29/2015   404 Letter by Jarvis Blease as to George Thomas Brokaw, John J. Pawelski, Mimi M.
                      Vigil (athom, ) (Entered: 01/29/2015)
     01/29/2015   405 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                      Sentencing held on 1/29/2015 as to defendant George Thomas Brokaw, John J.
                      Pawelski, Mimi M. Vigil. Defendants present; in custody. ORDER: Documents
                      395 , 394 , 398 are STRICKEN as irrelevant to this case. Document 399 is
                      construed as a writ of habeas corpus and is STRICKEN as inappropriate filing in
                      this case. Defendant Brokaw's oral motion to continue sentence is granted.
                      Defendant Brokaw's bond is revoked. Defendant Pawelski's oral motion to continue
                      sentence is granted Defendant Pawelski's bond is revoked. Defendant Vigil was
                      removed from the courtroom. Defendant Vigil's bond is revoked. Sentencing is
                      CONTINUED to 2/10/2015 03:00 PM in Courtroom A 602 before Judge Christine
                      M. Arguello. Defendants remanded. (Total time: 00:29, Hearing time: 3:28−3:57)

                       APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                       Government, Prose on behalf of the defendant, Gary Burney and Robert Ford on
                       behalf of probation. Court Reporter: Darlene Martinez. (shart) Text Only Entry
                       (Entered: 01/30/2015)
     01/29/2015   408 Letter by Mimi M. Vigil (athom, ) (Entered: 01/30/2015)
     01/29/2015   409 Letter by Lorrie Lunnon as to George Thomas Brokaw, John J. Pawelski, Mimi M.
                      Vigil (athom, ) Modified on 1/30/2015 to correct filing date (athom, ). (Entered:
                      01/30/2015)
     01/29/2015   410 Letter by Donna−Joan Kringlen as to Mimi M. Vigil (athom, ) (Entered:
                      01/30/2015)
     02/03/2015   411 RESTRICTED SECOND ADDENDUM to Presentence Report 392 as to Mimi M.
                      Vigil (lbump) (Entered: 02/03/2015)
     02/10/2015   418 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                      Sentencing held on 2/10/2015 as to defendant Mimi M. Vigil. Defendant present;
                      in custody. Defendant sentenced as reflected on the record. Defendant remanded.
                      (Total time: 00:21, Hearing time: 4:25−4:46)

                       APPEARANCES: Matthew Kirsch and Martha Paluch on behalf of the
                       Government, Mimi Vigil, pro se, Gary Burney and Robert Ford on behalf of
                       probation. Court Reporter: Mary George. (shart) Text Only Entry (Entered:
                       02/12/2015)
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     02/18/2015   420 MOTION to Dismiss Pursuant to FRCrimP 33 and FRCrimP 34 by George
                      Thomas Brokaw, John J. Pawelski, Mimi M. Vigil. (athom, ) (Entered: 02/18/2015)
     02/18/2015   423 NOTICE OF APPEAL re 418 Minute Entry by Mimi M. Vigil. (athom, ) (Entered:
                      02/18/2015)
